                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
vs.                                        )       Case No. 06-3114-01-CR-S-GAF
                                           )
DEAN P. PROFFITT,                          )
                                           )
                     Defendant.            )

                                           ORDER

       Now pending before the Court is Defendant’s Motion to Dismiss the Indictment Pursuant

to the Ninth and Tenth Amendments and Cleveland v. United States, 531 U.S. 12 (2000) (Doc.

#288). Defendant argues that the indictment should be dismissed on the grounds that Congress

cannot regulate the duties of local government employees.

       Chief United States Magistrate Judge James C. England issued his Report and

Recommendation on May 5, 2008 (Doc. #308). On May 22, 2008, Defendant filed his

Objections to the Report and Recommendation (Doc. #313).

       Upon careful and independent review of the pending motion, defendant’s objections to

the Magistrate's Report and Recommendation, as well as the applicable law, this Court hereby

adopts and incorporates as its own Opinion and Order the Report and Recommendation of

United States Magistrate Judge James C. England.

       Accordingly, it is hereby ORDERED that Defendant's Motion to Dismiss the Indictment

is OVERRULED and DENIED.




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     SO ORDERED.

                                         s/ Gary A. Fenner
                                         GARY A. FENNER, JUDGE
                                         UNITED STATES DISTRICT COURT

DATED: May 28, 2008




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